Case 1:02-cV-01281-.]DB-tmp Document 27 Filed 05/06/05 Page 1 of 3 Page|D 46

IN THE UNITED STATES DISTRICT COURT 0 7 \
FOR THE WESTERN DISTRICT oF TENNESSEE ~5` 1114 j §§

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DONALD GEOGHAN, ' -<,1,?,;;~"6‘ Ojs,/Qz@
' “ 1540 'C`f
Plaimiff, /@O/v
v. No. 02-1281-13/1>

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and

non-dispositive motions presently pending and/or filed during the course of this litigation.
(:ll\

IT IS SO ORDERED this day of May, 2005.

 

J. DANIEL BREEN
IT D STATES DISTRICT JUDGE

This document entered on the docket sheet in compli ncp
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Honorable J. Breen
US DISTRICT COURT

